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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
 __________________________________
 DANIEL LAUZIER
 (Plaintiff Name(s))

                                 SHORT-FORM COMPLAINT

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Master Personal Injury Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Lability

 Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint as permitted

 by Pretrial Order No. 31.

         Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)
                             Daniel Lauzier
        1.      Plaintiff(s) ____________________ (“Plaintiff(s)”) brings this action (check the
                applicable designation):

                        ✔      On behalf of [himself/herself];

                               In representative capacity as the __________________, on behalf
                               of     the     injured    party,    (Injured  Party’s   Name)
                               ___________________.



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        2.      Injured Party is currently a resident and citizen of (City,                               State)
                _________________________
                 Torrington, CT           and claims damages as set forth below.

                                                          —OR—

                Decedent died on (Month, Day, Year) _______________. At the time of
                Decedent’s death, Decedent was a resident and citizen of (City, State)
                _________________________.

 If any party claims loss of consortium,

        3.      _________________ (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) _________________________.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                _________________________.


    B. DEFENDANT(S)


        6.      Plaintiff(s) name(s) the following Defendants from the Master Personal Injury
                Complaint in this action:

                   a. Brand Manufacturers:
                      GLAXOSMITHKLINE, LLC; and JOHN DOE

                   b. Generic Manufacturers:
                       AJANTA PHARMA USA, INC.; AMNEAL PHARMACEUTICALS OF NEW YORK, LLC; APOTEX CORPORATION; APPCO PHARMA
                       LLC; DR. REDDY'S LABORATORIES, INC; GLENMARK PHARMACEUTICALS, LTD.; GLENMARK PHARMACEUTICALS INC., USA;
                       NOVITIUM PHARMA, LLC; PAR PHARMACEUTICAL, INC; SANDOZ, INC; STRIDES PHARMA, INC; SUN PHARMACEUTICAL
                       INDUSTRIES, INC f/k/a RANBAXY PHARMACEUTICALS, INC; AUROBINDO PHARMA, LTD; and JOHN DOE
                    c. Distributors:
                       JOHN DOE

                   d. Retailers:
                       JOHN DOE
                    e. Repackagers:
                       DENTON PHARMA INC., dba NORTHWIND PHARMACEUTICALS; GOLDEN STATE MEDICAL
                       SUPPLY, INC; MYLAN PHARMACEUTICALS; HIKMA PHARMACEUTICALS USA, INC; and JOHN DOE
                    f. Others Not Named in the MPIC:
                       JOHN DOE




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    C. JURISDICTION AND VENUE


       7.    Identify the Federal District Court in which Plaintiff(s) would have filed this action
             in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
             Court to which their original action was removed]:
             District of Connecticut
       8.    Jurisdiction is proper upon diversity of citizenship.



                                   II.     PRODUCT USE


       9.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                     ✔       By prescription

                             Over the counter

       10.   The Injured Party used Zantac and/or generic ranitidine from approximately
             (month, year) _______________
                           1/1990          to _______________.
                                              7/2019




                                III.     PHYSICAL INJURY


       11.   As a result of the Injured Party’s use of the medications specified above, [he/she]
             was diagnosed with the following specific type of cancer (check all that apply):

  Check all Cancer Type                                              Approximate          Date   of
  that                                                               Diagnosis
  apply
            BLADDER CANCER
            BRAIN CANCER
            BREAST CANCER
            COLORECTAL CANCER
            ESOPHAGEAL/THROAT/NASAL CANCER
            INTESTINAL CANCER
            KIDNEY CANCER
            LIVER CANCER
            LUNG CANCER
            OVARIAN CANCER
            PANCREATIC CANCER
  ✔         PROSTATE CANCER                                                      1/2018
            STOMACH CANCER




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             TESTICULAR CANCER
             THYROID CANCER
             UTERINE CANCER
             OTHER CANCER:

             DEATH (CAUSED BY CANCER)


       12.    Defendants, by their actions or inactions, proximately caused the injuries to
              Plaintiff(s).


                         IV.    CAUSES OF ACTION ASSERTED

       13.    The following Causes of Action asserted in the Master Personal Injury Complaint
              are asserted against the specified defendants in each class of Defendants
              enumerated therein, and the allegations with regard thereto are adopted in this Short
              Form Complaint by reference.

    Check if   COUNT Cause of Action
    Applicable
       ✔         I   STRICT PRODUCTS LIABILITY – FAILURE TO WARN

       ✔           II      STRICT PRODUCTS LIABILITY – DESIGN DEFECT

       ✔           III     STRICT PRODUCTS LIABILITY – MANUFACTURING
                           DEFECT

       ✔           IV      NEGLIGENCE – FAILURE TO WARN

       ✔           V       NEGLIGENT PRODUCT DESIGN

       ✔           VI      NEGLIGENT MANUFACTURING

       ✔          VII      GENERAL NEGLIGENCE

       ✔          VIII     NEGLIGENT MISREPRESENTATION

       ✔           IX      BREACH OF EXPRESS WARRANTIES

       ✔           X       BREACH OF IMPLIED WARRANTIES

                   XI      VIOLATION OF CONSUMER PROTECTION AND
                           DECEPTIVE TRADE PRACTICES LAWS and specify the state’s
                           statute below:
                           _______________________




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        Check if   COUNT Cause of Action
        Applicable

              ✔               XII    UNJUST ENRICHMENT

                              XIII   LOSS OF CONSORTIUM

                              XIV    SURVIVAL ACTION

                              XV     WRONGFUL DEATH

                              XVI    OTHER:

                              XVII   OTHER:


                       If Count XVI or Count XVII is alleged, additional facts supporting the claim(s):




                                                   V.      JURY DEMAND


              14.      Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.



                                             VI.        PRAYER FOR RELIEF

              WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

     inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

     action, jointly and severally to the full extent available in law or equity, as requested in the Master

     Personal Injury Complaint.


     s/Daniel A Nigh

     Daniel A. Nigh
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